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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK
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MARVEL CHARACTERS, INC.,                              Case No.: 1:21 -cv-07955-LAK

                       Plaintiff,                     Hon. Lewis A. Kaplan
        v.
                                                      STIPULATION AND
LAWRENCE D. LIEBER,                                   (PROPOSED] ORDER
                                                      EXTENDING TIME FOR
                       Defendant.                     DEFENDANT LAWREN CED.
                                                      LIEBER TO RESPOND TO
                                                      COMPLAINT



       WHEREAS, defendant Lawrence D. Lieber's ("Defendant") response to the Complaint

filed in this matter by plaintiff Marvel Characters, Inc. ("Plaintiff") is currently due November

30, 2021, shortly after the Thanksgiving Holiday;

       WHEREAS, Defendant therefore requested a one ( 1) week extension to respond to the

Complaint; and

       WHEREAS, this is Defendant's first request for such an extension;

       IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff and Defendant,

through their respective counsel of record, subject to the Court's approval, that the date for

Defendant to respond to the Complaint shall be extended by one ( 1) week to December 7, 2021.
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                                                                              Page 2 of 2




Date: November 26, 2021            Respectfully submitted,

                                   By: _ _ _ _ls_l_Mi_a_r_c_Ti_ob_e_r-ofJ~T_ _ __
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Date: November 26, 2021            Respectfully submitted,

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